      Case 2:23-cv-02655-TLN-KJN Document 2 Filed 12/21/23 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11                                                      No. 2:23-cv-02651-TLN-KJN
      IN RE: STEVEN WAYNE BONILLA
12                                                      No. 2:23-cv-02652-TLN-KJN

13                                                      No. 2:23-cv-02653-TLN-KJN

14                                                      No. 2:23-cv-02654-TLN-KJN

15                                                      No. 2:23-cv-02655-TLN-KJN

16                                                      No. 2:23-cv-02656-TLN-KJN

17                                                      No. 2:23-cv-02657-TLN-KJN

18                                                      No. 2:23-cv-02658-TLN-KJN

19                                                      No. 2:23-cv-02659-TLN-KJN

20                                                      No. 2:23-cv-02660-TLN-KJN

21                                                      ORDER

22

23

24          Plaintiff Steven Wayne Bonilla is a state prisoner proceeding without counsel in the

25   above-captioned civil actions. On November 29, 2018, the Court declared Plaintiff a vexatious

26   litigant and ordered the Clerk of the Court not to file or assign a civil case number to any

27   proposed habeas corpus petition or civil action related to Plaintiff’s criminal conviction in

28   Alameda County. (See Bonilla v. Fresno County, Case No. 2:18-cv-2544-TLN-KJN, ECF No.
                                                        1
      Case 2:23-cv-02655-TLN-KJN Document 2 Filed 12/21/23 Page 2 of 2


 1   13). On June 14, 2023, the Court modified its vexatious litigant Order and directed the Clerk of

 2   the Court to open a new case for each attempted new case pleading and assign it to the

 3   undersigned and Magistrate Judge Kendall J. Newman. (Id. at ECF No. 26). If the Court

 4   determines the new filing is related to Plaintiff’s Alameda County criminal conviction, the case

 5   will be ordered dismissed and closed. (Id.)

 6          The Court has reviewed the complaints/petitions filed in the above-captioned cases and

 7   finds they are related to Plaintiff’s Alameda County criminal conviction.

 8          Accordingly, the complaints/petitions in Case Nos. 2:23-cv-02651, 2:23-cv-02652, 2:23-

 9   cv-02653, 2:23-cv-02654, 2:23-cv-02655, 2:23-cv-02656, 2:23-cv-02657, 2:23-cv-02658, 2:23-

10   cv-02659 and 2:23-cv-02660 are hereby DISMISSED. The Clerk of the Court is directed to close

11   these cases. No further filings will be accepted.

12          IT IS SO ORDERED.

13
              Dated: December 20, 2023
14

15

16                                                           Troy L. Nunley
                                                             United States District Judge
17

18

19

20
21

22

23

24

25

26
27

28
                                                         2
